Case o-2U0-Ooloz-reg Vocs Filed Ovy/li/z0 Entered Os/ii/20 14709 T Ly

AFFIDAVIT OF SERVICE BY CERTIFIED MAIL
RETURN RECEIPT REQUESTED AND FIRST CLASS MAIL

Re: Diamond Finance Co., Inc.
Case No. 820-71877-A736
Marc A. Pergament, Chapter 7 Trustee of the Estate of Diamond
Finance Co., Inc. v. Lawrence Scott Events, Ltd. d/b/a Lawrence Scott Caterers
Adv. Proc. No. 820-08152-A736

STATE OF NEW YORK )
)ss.:
COUNTY OF NASSAU )

Jacqueline Sullivan, being duly sworn, deposes and says:

That | am not a party to this action, am over the age of 18 years, and reside in
Massapequa Park, New York.

That on the 11th day of September, 2020, I served the SUMMONS AND NOTICE
OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING and COMPLAINT upon
the Defendant at the address listed below by depositing a true copy of the same enclosed in a post-
paid properly addressed envelope, marked Certified Mail, Return Receipt Requested and by first
class mail, in a properly addressed envelope, in an official depository under the exclusive care and
custody of the United States Post Office within the State of New York,

Lawrence Scott Events, Ltd. d/b/a
Lawrence Scott Caterers

. 35 Bethpage Road
Hicksville, NY 11801
Attn: Lawrence Scott Gottesman
Article No. 70142120 0004 0263 118

jaw woe

fine Sullivan

 
  

Sworn to before me this
11th day of September, 2820.

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“A

NOTARY PUBLE ]

   
     

     

 

arianne Mastroceo
Notary Public, Staite of New work
Registration No. OI MA6I195
Qualified in Nassau County .
Commission Expires December 13,
f— ~ \

Case o-2U0-Ooloz-reg Vocs Filed Ovy/li/z0 Entered Os/ii/20 14709 T Ly

AFFIDAVIT OF SERVICE BY FIRST CLASS MAIL

 

Re: Diamond Finance Co., Inc.

Case No, 820-71877-A736

Mare A. Pergament, Chapter 7 Trustee of the Estate of Diamond

Finance Co., Inc. v. Lawrence Scott Events, Ltd. d/b/a Lawrence Scott Caterers
Adv. Proc. No. 820-08 152-A736

STATE OF NEW YORK)
) ss.
COUNTY OF NASSAU)

Jacqueline Sullivan, being duly sworn, deposes and says:

That I am not a party to this action, am over the age of 18 years, and reside in
Massapequa Park, New York.

That on the 11th day of September, 2020, I served the within SUMMONS AND
NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING and
COMPLAINT upon the Office of the United States Trustee and Debtor’s counsel at the addresses
listed below by depositing a true copy of the same enclosed in a post-paid, properly addressed
envelope im an official depository under the exclusive care and custody of the United States Post
Office within the State of New York.

Office of the United States Trustee
Alfonse M. D’Amato U.S, Courthouse
560 Federal Plaza

Central Islip, NY 11722

Wayne Greenwald, PC

Attorneys for Debtor

475 Park Avenue South, 26th Floor
New York, NY 10016

Attn: Wayne M. Greenwald, Esq.

  
   
 

Sworn to before me this
_ Ith day of Septembey 2020

 

NOTARY PUBLIC

Marianne Mastrocco
Notary Public, State af New York
Registration No. GiMA61 19578
Gualified in Nassau County HD
Commission Expires December 13, 20_“.
